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 4   Facsimile: (916) 922-2465
 5
     Email: ronslaw207@sbcglobal.net

 6   Attorney for Defendant
     SHERLYNN CHARLES
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       )   CASE NO. 2:14-cr-00239-GEB
                                                     )
12
                                                     )   STIPULATION AND ORDER TO
                            Plaintiff,               )   CONTINUE STATUS CONFERENCE
13
                                                     )
     vs.                                             )
14
                                                     )   DATE: February 27, 2015
     SHERLYNN CHARLES                                )   TIME: 9:00 a.m.
15
                                                     )   JUDGE: Hon. Garland E. Burrell
                  Defendant,                         )
16
                                                     )
                                                     )
17

18          Defendants, by and through their undersigned counsel, and the government, by and
19
     through Assistant United States Attorney, Michael McCoy, hereby agree and stipulate that this
20
     matter, set on calendar January 16, 2015 be continued approximately 30 days to allow counsel
21

22
     to review discovery and undergo defense investigation.

23          Therefore the parties request a status conference of February 27, 2015 and that date is
24   available with the court. The parties further stipulate that the Court should exclude the computes
25
     the time within which the trial of the above criminal prosecution must commence for purposes of
26
     the Speedy Trial Act. The parties stipulate that the ends of justice are served by granting the
27

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                                                          1
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 1   defendants’ request for a continuance outweigh the best interest of the public and the defendants
 2
     in a speedy trial, and that this is an appropriate exclusion of time for defense preparation within
 3
     the meaning of 18 U.S.C. § 3161(h)(7) (Local Code T4). period from the date of this order
 4

 5
     through February 27, 2015, when it computes the time within which the trial of the above

 6   criminal prosecution must commence for purposes of the Speedy Trial Act. The parties stipulate
 7   that the ends of justice are served by granting the defendants’ request for a continuance outweigh
 8
     the best interest of the public and the defendants in a speedy trial, and that this is an appropriate
 9
     exclusion of time for defense preparation within the meaning of 18 U.S.C. § 3161(h)(7) (Local
10

11   Code T4).

12

13
     Date: January 15, 2015                         Respectfully Submitted,
14                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
15
                                                            /s/ Michael McCoy_______
16
                                                            MICHAEL MCCOY
17                                                          Assistant U.S. Attorney

18

19
     DATE: January 15, 2015                                 /s/Ron Peters
                                                            RON PETERS
20                                                          Attorney for Defendant
                                                            SHERLYNN CHARLES
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 1                                                ORDER
 2
     It is so ordered that the matter be placed on the Court’s calendar at 9:00 a.m. on February 27,
 3
     2015.
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 5
     Dated: January 16, 2015

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